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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
 9      NATALIE F. SIMMONS and STEPHEN                      CASE NO. C16-0794-JCC
        H. SIMMONS, husband and wife;
10      KATHERINE A. ROHR-SMITH; and                        MINUTE ORDER
        ZALDY FERNANDEZ, individually and
11      on behalf of others similarly situated,
12                              Plaintiffs,

13              v.

14      ASSET RECOVERY GROUP, INC.,
        d/b/a ASSET RECOVERY GROUP OF
15      WASHINGTON, an Oregon corporation;
        and ROBERT S. FRIEDMAN,
16
                                Defendants.
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18          The following Minute Order is made by direction of the Court, the Honorable John C.

19 Coughenour, United States District Judge:

20          This matter comes before the Court on Plaintiffs’ motion to consolidate this case with

21 Linehan v. AllianceOne Receivables Management, Inc., C15-1012-JCC (Dkt. No. 22). This case

22 raises the same legal issue as in the consolidated Linehan cases. The underlying facts are also

23 similar: debt collectors filed suit in particular divisions pursuant to a general court order, even

24 though the debtors did not reside in those districts and the underlying contracts were not formed

25 there. Because of these common questions of law and fact, the Court finds that consolidation

26 would conserve resources, avoid inconsistent results, and otherwise serve the interests of justice.



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 1          Accordingly, the Court GRANTS the motion (Dkt. No. 22) and ORDERS that:

 2          (1) All future filings shall bear the caption and case number of Linehan v. AllianceOne

 3 Receivables Management, Inc., C15-1012-JCC.

 4          (2) This case is closed, and any case management deadlines set in this case are stricken.

 5          (3) The pending motions to dismiss in this case (Dkt. Nos. 16 & 17) are transferred to

 6 Linehan v. AllianceOne Receivables Management, Inc., C15-1012-JCC.

 7          The Court acknowledges Defendant Asset Recovery Group’s argument that the

 8 consolidated cases are further along than this proceeding. (See Dkt. No. 30 at 1-2.) Regarding the
 9 pending motions to dismiss in this case, there are likewise pending motions in the consolidated

10 cases, and the Court anticipates a swift ruling on these motions to move this case along.

11 Regarding the case management schedule in the consolidated cases, Defendants Asset Recovery

12 and Robert Friedman may appeal to the Court for relief from any deadline that is truly unfair or

13 unmanageable.

14          The Clerk is DIRECTED to post this order in both C16-0794-JCC and in C15-1012-JCC.
15          DATED this 23rd day of August 2016.
16                                                         William M. McCool
                                                           Clerk of Court
17
                                                           s/Paula McNabb
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                                                           Deputy Clerk
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